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   11
   12                             UNITED STATES DISTRICT COURT
   13                            CENTRAL DISTRICT OF CALIFORNIA
   14   ANDREA RIDGELL, on behalf of) Case No.: 2:18-CV-04916 PA (AFMx)
        herself and others similarly situated, )
   15                                          ) FRONTIER AIRLINES INC.'S
        Plaintiff,                             ) MEMORANDUM OF POINTS AND
   16                                          ) AUTHORITIES IN SUPPORT OF
        v.                                     ) MOTION FOR SUMMARY
   17                                          ) JUDGMENT
        FRONTIER AIRLINES, INC. a)
   18   Colorado corporation; AIRBUS S.A.S.,) Date: June 17, 2019
        a foreign corporation doing business in) Time: 1:30 p.m.
   19   the State of California; AIRBUS) Place: Courtroom of the Honorable Percy
        GROUP HQ, INC., a corporation doing)           Anderson
   20   business in the State of California,   )
                                               )
   21                Defendants.               )
                                               )
   22                                          )
   23
   24              Frontier Airlines, Inc. (hereinafter "Frontier "), by and through its counsel of
   25   record, Clyde & Co US LLP, hereby submits its memorandum of points and
   26   authorities in support of its motion for summary judgment as follows:
   27   //
   28
         6036597

             FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                      13             APPLYING FEDERAL STANDARDS, THE NINTH CIRCUIT HAS
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                                                       1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                                       2                                       INTRODUCTION
                                                       3             The claim filed by plaintiff has morphed several times from what started out as
                                                       4   a class action seeming to target primarily the defendant, Airbus S.A.S. ("Airbus"), to
                                                       5   an individual claim that is now asserted only against the defendant Frontier. The core
                                                       6   facts, however, have largely remained unchanged. Those facts are simply that an odor
                                                       7   was detected on board an Airbus aircraft that was operated by Frontier while it was en
                                                       8   route from Los Angeles to Orlando. When advised of same, the pilots decided to land
                                                       9   the aircraft in Phoenix to determine whether the aircraft was in need of repair.
                                                      10             The passengers deplaned into the Phoenix Terminal and subsequently boarded
                                                      11   another aircraft that took them to Orlando. Neither Plaintiff nor any other person on
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                                                           board that flight has provided Frontier with any medical record diagnosing them with
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                                                      13   any injury or illness caused by the alleged odor. Moreover, as Frontier advised
                                                      14   plaintiff when she wrote to complain about this incident, the aircraft was inspected
                                                      15   and no problems were noted.
                                                      16             Although plaintiff has not provided any expert report to establish either injury
                                                      17   or aircraft defect, Plaintiff has nonetheless alleged that the "odor" that was detected
                                                      18   was "toxic" and caused by what plaintiff claims to be a defective aircraft ventilation
                                                      19   system. Indeed, the crux of plaintiff's complaint is that every aircraft which uses the
                                                      20   "bleed air system" to supply cabin air is defective.
                                                      21             According to plaintiff's complaint, only the Boeing 787 "Dreamliner" is free
                                                      22   from this alleged "defect." First Amended Complaint [Dkt No. 33], ¶ 70. Although
                                                      23   plaintiff concedes that Frontier did not manufacture or design the aircraft, she
                                                      24   nonetheless alleges that Frontier can be held liable for operating same. In essence,
                                                      25   plaintiff argues that every air carrier should either dispose of all their current aircraft
                                                      26   fleet and any Airbus aircraft and operate only 787s and/or "retrofit" all their other
                                                      27   aircraft. First Amended Complaint [Dkt No. 33], ¶ 69.
                                                      28             The claims asserted by plaintiff are unsupported by law, fact, expert opinion
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                                                       1   and common sense. It is well established that federal law preempts the standards for
                                                       2   aviation safety and that federal law designates the US Federal Aviation
                                                       3   Administration ("FAA") as the entity charged with uniformly regulating same
                                                       4   throughout the country. FAA rules clearly establish that no person or carrier can
                                                       5   operate an aircraft unless the FAA issues a type certificate that designates the aircraft
                                                       6   as airworthy and safe for operation.
                                                       7             The declaration of James Nides attests that the aircraft which carried plaintiff on
                                                       8   the flight in question was certified as airworthy and maintained in accordance with
                                                       9   FAA requirements. Plaintiff has provided no proof or expert opinion to the contrary.
                                                      10   Indeed, although plaintiff acknowledges in her complaint that the FAA has studied
                                                      11   this alleged "defect" for almost a quarter of a century, plaintiff does not and cannot set
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                                                           forth any statement by the FAA indicating that the bleed air system is defective and/or
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                                                      13   that aircraft using same should be discarded and/or retrofitted in some way.
                                                      14   Moreover, EASA, the well-respected European aviation regulatory authority, has
                                                      15   published a study indicating that it has found the cabin air quality of aircraft using the
                                                      16   bleed air system to be safer than indoor air tested at schools and kindergartens.
                                                      17             Of course, as with any blunderbuss type of pleading, plaintiff also asserts the all
                                                      18   too typical "failure to warn" and "negligent maintenance" claims along with a not so
                                                      19   typical "false imprisonment" claim alleging that Frontier "imprisoned" all the
                                                      20   passengers waiting near the gate to board the replacement aircraft and proceed to their
                                                      21   destination. However, after almost a year of litigation and a clear deadline issued by
                                                      22   the court for service of expert reports, no evidence or expert report has ever been
                                                      23   provided to support these claims.
                                                      24             By way of contrast, the declaration of Brittany Shamburger establishes that
                                                      25   Frontier did not "imprison" all the passengers standing in the terminal near the gate
                                                      26   and the declarations of Henry Villareal and James Nides establish that upon landing,
                                                      27   the aircraft was inspected per FAA guidelines to determine if there was any
                                                      28   maintenance issue and then monitored for a period of 30 days and found to not have
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                                                       1   any issues either immediately after the alleged incident or for 30 days thereafter when
                                                       2   the aircraft was put back in normal use.
                                                       3             Lastly, it is relevant to note that plaintiff has produced no expert medical report
                                                       4   to establish that she received any injury whatsoever as a result of her alleged exposure
                                                       5   to "toxic" cabin air. In light of same and all of the foregoing, there is no legal or
                                                       6   factual basis for the action against Frontier to continue. Accordingly, the claims
                                                       7   asserted against Frontier should be dismissed as a matter of law.
                                                       8                                   STATEMENT OF FACTS
                                                       9             Plaintiff's complaint alleges that she purchased a one way ticket from Frontier
                                                      10   for a flight from Los Angeles to Orlando. The cost of her ticket was $163.99. First
                                                      11   Amended Complaint, [Dkt No. 33], ¶ 16. Plaintiff alleges that the aircraft for said
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                                                           flight was believed to be an Airbus A320. First Amended Complaint, [Dkt No. 33], ¶¶
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                                                      13   18. During the course of the flight, plaintiff alleges that an odor was detected that
                                                      14   caused her and others on board the aircraft to feel ill. First Amended Complaint, [Dkt
                                                      15   No. 33], ¶ ¶ 20-21.
                                                      16             Plaintiff initially filed a complaint as a representative of a proposed class action
                                                      17   and sought recovery for damages allegedly caused by an alleged "bleed air event."
                                                      18   First Amended Complaint, [Dkt No. 33], ¶ ¶ 16-88. In so doing, plaintiff alleged
                                                      19   causes of action for strict liability, breach of warranties, negligence, negligent
                                                      20   infliction of emotional distress and false imprisonment. Plaintiff’s claims, however,
                                                      21   are replete with conclusory and unsupported allegations.
                                                      22             In that regard, plaintiff alleges in paragraphs 7 and 8 of her complaint that the
                                                      23   Airbus defendants “design, manufacture and sell” aircraft, while alleging in paragraph
                                                      24   9 that Frontier operates aircraft. First Amended Complaint [Dkt No. 33], ¶ ¶ 7, 8 and
                                                      25   9. Nonetheless, the causes of action for strict liability on the basis of design defect,
                                                      26   breach of warranties and negligence are alleged against "All Defendants" on the basis
                                                      27   that all defendants bore some responsibility for, among other allegations, "designing,
                                                      28   manufacturing, assembling, testing, maintaining, servicing, selling, marketing,
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                                                       1   promoting and providing warnings or instructions about the subject aircraft." First
                                                       2   Amended Complaint [Dkt No. 33], ¶ 104; see also ¶ ¶ 89-110.
                                                       3             Plaintiff cannot reasonably dispute that these causes of action do not apply to
                                                       4   Frontier. In that regard, Plaintiff's complaint clearly states that the alleged cause of
                                                       5   her injuries was an aircraft manufactured by the former defendant, Airbus.
                                                       6             17. On or about June 2, 2017, Plaintiff boarded Frontier airlines flight
                                                                     number F91630 with a scheduled departure time of 10:19 PM and an
                                                       7
                                                                     arrival time of 6:04 AM on June 3, 2017. The flight was direct from Los
                                                       8             Angeles to Phoenix with no scheduled stops.
                                                       9             18. Plaintiff believes the aircraft to have been an airbus A320 (320) V1.
                                                      10             The aircraft was designed and manufactured by Airbus.
                                                      11   First Amended Complaint [Dkt No. 33], ¶¶ 17-18. Plaintiff's first amended complaint
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                                                           defines said aircraft as a "product" and specifically alleges that a "product defect"
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                                                      13   caused her to be injured.
                                                      14             22. Upon information and belief, while onboard the subject aircraft
                                                      15             Plaintiff and the members of the classes (as defined below) were exposed
                                                                     to toxic fumes that entered the passenger cabin through the aircraft’s
                                                      16             ventilation system as a result of what is commonly referred to as a
                                                      17             “fume” event.

                                                      18             23. The toxic fumes entered the passenger cabin through the air delivery
                                                                     system as a result of the product defect as alleged herein. The "product"
                                                      19             for purposes of this Complaint is the Airbus aircraft and its component
                                                      20             parts.
                                                      21   First Amended Complaint [Dkt No. 33], ¶¶ 22-23.
                                                      22             Nothing asserted in plaintiff's complaint alleges Frontier to be responsible for
                                                      23   either the design or manufacture of the allegedly defective product. Instead, Frontier
                                                      24   is (correctly) alleged only to have operated the aforesaid aircraft.
                                                      25             9. Frontier is a Delaware corporation with a principal place of business
                                                      26             and corporate headquarters in Denver, Colorado. Frontier operates
                                                                     passenger service throughout the United States including between
                                                      27             California and Florida.
                                                      28             …
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                                                       1             19. At the times mentioned, and at all times relevant to this complaint,
                                                                     Frontier is a common carrier engaged in the business of transporting
                                                       2
                                                                     passengers for hire by air.
                                                       3
                                                       4   First Amended Complaint [Dkt No. 33], ¶¶ 9 and 19.
                                                       5             Although plaintiff's complaint makes numerous allegations regarding an
                                                       6   allegedly defective aircraft cabin ventilation system, it makes only selective reference
                                                       7   to the legal regulatory regime by which aircraft design, certification, operation and
                                                       8   maintenance issues are governed. In that regard, Plaintiff makes no reference to the
                                                       9   legal requirements that mandate a domestic air carrier to operate only aircraft certified
                                                      10   as airworthy by the FAA. Nor does she mention that Frontier was required by law to
                                                      11   only operate aircraft that are so certified and to do so in accordance with FAA
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                                                           operational and maintenance guidelines. Instead, without citing any regulatory
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                                                      13   authority, Plaintiff alleges that there is purportedly a "better design" for aircraft cabin
                                                      14   ventilation. First Amended Complaint [Dkt No. 33], ¶ ¶ 75-81.
                                                      15             Plaintiff's complaint does, however, correctly note that the FAA was directed to
                                                      16   study the foregoing ventilation issue. First Amended Complaint [Dkt No. 33], ¶ 61.
                                                      17   Indeed, plaintiff specifically alleges that the FAA has extensively studied the issues
                                                      18   raised in the complaint since 1994. First Amended Complaint [Dkt No. 33], ¶ ¶ 59-
                                                      19   61. Moreover, plaintiff's complaint acknowledges that the FAA extensively regulates
                                                      20   aircraft ventilation by imposing design and performance obligations on a manufacturer
                                                      21   as a condition to issuance of a type certificate. First Amended Complaint [Dkt No.
                                                      22   33], ¶ ¶ 95-98.
                                                      23             Although plaintiff does not allege that the FAA ever determined that the "bleed
                                                      24   air system" is defective or unsuited for use on board any aircraft, even after extensive
                                                      25   study, she nonetheless alleges that it is a product "defect" and consistent with standard
                                                      26   product liability pleading, alleges that the aircraft and/or "product" was defective at
                                                      27   the time it left the manufacturer and delivered to Frontier to operate. First Amended
                                                      28   Complaint [Dkt No. 33], ¶ ¶ 89-92, 101-102.
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                                                               FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1             Although Plaintiff also does not explicitly set forth the alleged negligence of the
                                                       2   defendant Frontier, she generically claims that "defendants" failed to maintain, retrofit
                                                       3   and warn about the alleged "dangers" of the bleed air system. First Amended
                                                       4   Complaint [Dkt No. 33], ¶ ¶ 106-110. Additionally and again without providing any
                                                       5   specifics, Plaintiff alleges that "defendants" negligently inflicted emotional distress on
                                                       6   plaintiff and "falsely imprisoned" her and other passengers in the Phoenix Airport
                                                       7   Terminal. First Amended Complaint [Dkt No. 33], ¶ ¶ 111- 125.
                                                       8             The declarations accompanying this motion establish that Frontier did not
                                                       9   design, manufacture, distribute or sell the aircraft and further establish that the aircraft
                                                      10   was inspected upon landing and found free of any defect or problem with the aircraft
                                                      11   ventilation system. Uncontroverted Fact ("UF") Nos. 1, 2, and 8. Said declarations
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                                                           also establish that the aircraft was also monitored for the next 30 days and no
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                                                      13   problems were noted during that time. UF No. 9. Additionally, said declarations also
                                                      14   establish that Frontier gate agents did not "imprison" passengers waiting at the gate to
                                                      15   board the aircraft that took them to their ticketed destination. UF Nos. 10-17.
                                                      16             Relevant to the foregoing, it should be noted that subsequent to the service of
                                                      17   Plaintiff's complaint, the Court met with the parties and issued a scheduling order and
                                                      18   schedule of dates. [Dkt Nos. 30 and 32]. Those orders provided that expert reports
                                                      19   were to be provided no later than eight weeks prior to the discovery cutoff date that
                                                      20   was set at June 10, 2019. The deadline for service of expert reports has therefore
                                                      21   expired almost six weeks ago. Plaintiff, however, has not served any expert report.
                                                      22   Plaintiff has, therefore, not substantiated that she has suffered an injury, that it was
                                                      23   caused by the perceived odor, or that there was any negligence or fault on the part of
                                                      24   Frontier. Instead, plaintiff, without explanation and contrary to her numerous
                                                      25   statements to the Court, has belatedly filed a stipulation less than ten days ago
                                                      26   discontinuing her claim against the aircraft manufacturer, Airbus. See Plaintiff's
                                                      27   Notice of Dismissal [Dkt No. 54].
                                                      28   //
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                                                                FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1                                    RULE 56 STANDARD
                                                       2             When reviewing a motion for summary judgment, the Court views the facts in a
                                                       3   light most favorable to the non-moving party. Anderson v. Liberty Lobby, Inc., 477
                                                       4   U.S. 242, 255 (1986). If a motion for summary judgment under Federal Rule of Civil
                                                       5   Procedure 56 is properly made and sufficiently supported, an opposing party has the
                                                       6   burden of showing that a genuine dispute exists. Matsushita Elec. Indus. Co. v. Zenith
                                                       7   Radio Corp., 475 U.S. 574, 586–87 (1986). Furthermore, “the mere existence of some
                                                       8   alleged factual dispute between the parties will not defeat an otherwise properly
                                                       9   supported motion for summary judgment; the requirement is that there be no genuine
                                                      10   issue of material fact.” Anderson, 477 U.S. at 247–48.
                                                      11             A “material fact,” for the purposes of the summary judgment inquiry, is a fact
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                                                           that might affect the outcome of a party's case. Id. at 248; S.E.C. v. Seaboard
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                                                      13   Corp., 677 F.2d 1301, 1305-06 (9th Cir. 1982); Bunn v. Khoury Enterprises, Inc., 753
                                                      14   F.3d 676, 681 (7th Cir. 2014); JKC Holding Co. v. Wash. Sports Ventures, Inc., 264
                                                      15   F.3d 459, 465 (4th Cir. 2001). Similarly, whether a fact is considered “material” is
                                                      16   determined by the substantive law governing the claims alleged in the complaint.
                                                      17   Accordingly, “only disputes over facts that might affect the outcome of the suit under
                                                      18   the governing law will properly preclude the entry of summary judgment.” Anderson,
                                                      19   477 U.S. at 248; Jackson v. Wells Fargo Bank, N.A., 693 F. App'x 634, 635 (9th Cir.
                                                      20   2017); Bunn v. Khoury Enterprises, Inc, supra; Hooven–Lewis v. Caldera, 249 F.3d
                                                      21   259, 265 (4th Cir. 2001). Additionally, Federal Rule of Civil Procedure 56(e) requires
                                                      22   that the nonmoving party go beyond the pleadings and designate specific facts
                                                      23   showing that there is a genuine issue for trial. Celotex Corp. v. Catrett, 477 U.S. 317,
                                                      24   324, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986).
                                                      25   //
                                                      26   //
                                                      27   //
                                                      28   //
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                                                                FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1                                         ARGUMENT
                                                       2                                                 I
                                                       3             FRONTIER CANNOT BE HELD LIABLE FOR OPERATING AN
                                                       4      AIRCRAFT THAT THE FAA HAS CERTIFIED AS AIRWORTHY OR
                                                       5      FOR NOT WARNING ABOUT A CONDITION WHICH THE FAA HAS
                                                       6                               NOT DEEMED TO BE UNSAFE
                                                       7             For nearly a century, Congress has recognized that federal control over aviation
                                                       8   must be "intensive and exclusive." Northwest Airlines, Inc. v. Minnesota, 322 U.S.
                                                       9   292, 303 (1944) (J. Jackson, concurring). To that end, Congress enacted the Federal
                                                      10   Aviation Act (the "Act") in 1958, the "whole tenor [of which was] to create and
                                                      11   enforce one unified system of flight rules." United States v. Christensen, 419 F.2d
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                                                           1401, 1404 (9th Cir. 1969). Congress found the "creation of a single, uniform system
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                                                      13   of regulation vital to increasing air safety." Abdullah v. American Airlines, Inc., 181
                                                      14   F.3d 363, 368 (3d Cir. 1999). The Act, together with the broad authority given to the
                                                      15   FAA, thus establishes a "uniform and exclusive system of federal [aviation]
                                                      16   regulation." City of Burbank v. Lockheed Air Terminal Inc., 411 U.S. 624, 639
                                                      17   (1973).
                                                      18             A. US Courts Have Consistently Held that Federal Law Governs Aviation
                                                      19                Safety
                                                      20             Consistent with this understanding, the Ninth Circuit has held that the Act and
                                                      21   its corresponding regulations "demonstrate an intent to occupy exclusively the entire
                                                      22   field of aviation safety and carry out Congress' intent to preempt all state law in this
                                                      23   field." Montalvo v. Spirit Airlines, 508 F.3d 464, 471 (9th Cir. 2007). The holding of
                                                      24   Montalvo is particularly relevant to the claims asserted in this litigation. The issue in
                                                      25   that case was whether air carriers had a duty to warn passengers of the risks of deep
                                                      26   vein thrombosis ("DVT"). Montalvo, 508 F.3d at 468. After analyzing the Act and
                                                      27   the federal regulations, the Court found that, through implied field preemption, the
                                                      28   Act "preempts the entire field of aviation safety from state and territorial regulation."
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                                                               FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1   Id. at 468, 473-74. Applying this principle, the Court concluded that the air carriers
                                                       2   were under no duty to warn about the potential risks of DVT "absent a federal
                                                       3   mandate to do so." Id. Because no such mandate existed, the Court upheld the
                                                       4   dismissal of plaintiffs' failure to warn claims. Id. at 474; see also Witty v. Delta Air
                                                       5   Lines, Inc., 366 F.3d 380, 385 (5th Cir. 2004). Applying that holding to the facts of
                                                       6   this case clearly mandate the same result as to plaintiff's failure to warn claim against
                                                       7   Frontier.
                                                       8             Subsequent to Montalvo, the Ninth Circuit reaffirmed federal control over
                                                       9   aviation in Martin ex rel. Heckman v. Midwest Exp. Holdings, Inc., 555 F.3d 806 (9th
                                                      10   Cir. 2009) stating that when the FAA "issues 'pervasive regulations' in an area…the
                                                      11   [agency] preempts all state law claims in that area." 555 F.3d 806, 811 (9th Cir.
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                                                           2009) (emphasis in original). In so holding, the Ninth Circuit rejected a claim that
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                                                      13   federal law exclusively governs the design of external airstairs because there was only
                                                      14   one federal regulation regarding airstairs. Martin, 555 F.3d at 812. Martin therefore,
                                                      15   held that airstairs were not "pervasively regulated" by the FAA. Id.
                                                      16             In the case at bar, the claim against Frontier arises not on account of a passenger
                                                      17   walking down external airstairs but rather, plaintiff alleges that her injury was caused
                                                      18   by the operation of the aircraft itself and an allegedly defective bleed air system. The
                                                      19   Court need look no further than the allegations of plaintiff's complaint to hold that
                                                      20   both the aircraft and the bleed air system are pervasively regulated by the FAA and
                                                      21   the subject of at least 25 years of FAA study and evaluation.
                                                      22             Paragraph 94 of the First Amended Complaint [Dkt No. 33], states,
                                                      23             The Federal Aviation Administration (FAA) has issued a number of
                                                      24             federal aviation regulations (FARs), airworthiness directives (ADs),
                                                                     and advisory circulars (ACs) regarding cabin air ventilation
                                                      25             requirements...
                                                      26   The next four paragraphs of the complaint go on to list four specific regulations and
                                                      27   subparts that plaintiff alleges to specifically regulate various aspects of the cabin air
                                                      28   ventilation system. First Amended Complaint [Dkt No. 33], ¶ ¶ 95-98. Additionally,
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                                                               FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1   plaintiff's complaint correctly notes that the FAA was directed to study the foregoing
                                                       2   ventilation issue, First Amended Complaint [Dkt No. 33], ¶ 61, and has extensively
                                                       3   studied the issues raised in the complaint since 1994. First Amended Complaint [Dkt
                                                       4   No. 33], ¶ ¶ 59-61.
                                                       5             The accompanying Declaration of James Nides explains that the FAA requires
                                                       6   that any aircraft that Frontier or any other air carrier operates must be certified by the
                                                       7   FAA as being airworthy. See 14 C.F.R. § 121.153; UF Nos. 4-5. He also explains
                                                       8   that aircraft manufacturers must obtain a type certificate from the FAA, which
                                                       9   certifies that an aircraft performs properly and meets the safety standards defined in
                                                      10   the FAA's regulations. See 49 U.S.C. § 44704(a); 14 C.F.R. § 21.31; Nides Decl., ¶ 7.
                                                      11             In addition to the foregoing, Mr. Nides states that to operate a particular aircraft,
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                                                           air carriers must also be provided with an airworthiness certificate, which certifies that
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                                                      13   the aircraft conforms to its type certificate and is in condition for safe operation. See
                                                      14   49 U.S.C. § 44704(d); 14 C.F.R. § 125.91; UF No. 5. In that regard, Mr. Nides states
                                                      15   that all of the aircraft operated by Frontier have been certified as airworthy by the
                                                      16   FAA. Nides Decl., ¶ 9; UF No. 6. He similarly states that the FAA regulates the
                                                      17   scope and content of air carrier maintenance programs, see 14 C.F.R. §§ 43, 119, 121
                                                      18   and 135, et seq., and that Frontier operates its maintenance program in accordance
                                                      19   with FAA regulations. Nides Decl., ¶ 10-11; UF No. 7.
                                                      20             The foregoing clearly establishes that the aircraft and allegedly defective "bleed
                                                      21   air system" at issue in this litigation are pervasively regulated by the FAA and have
                                                      22   been certified by the FAA to be safe and suitable for operation. This finding is
                                                      23   particularly significant when it is considered that Plaintiff's own complaint concedes
                                                      24   that the FAA has been extensively studying these issues for almost 25 years.
                                                      25   Moreover, it is equally significant to note that there is absolutely no evidence or basis
                                                      26   for claiming that Frontier either operated or maintained its aircraft in violation of FAA
                                                      27   regulations. Given the FAA's exclusive control over these pervasively regulated
                                                      28   areas, there is no basis for finding Frontier liable for its operation, maintenance or
                                                           6036597                            -10-
                                                               FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1   alleged "failure to warn."
                                                       2             The Seventh Circuit's holding in Bieneman v. City of Chicago, 864 F.2d 463,
                                                       3   471 (7th Cir. 1988) is particularly instructive. In that case, the Court of Appeals
                                                       4   specifically addressed federal preemption in the context of considering whether the
                                                       5   district court properly dismissed an action similar to the one at bar. Like here,
                                                       6   plaintiff claimed aircraft that were deemed airworthy by the FAA were defective
                                                       7   because they were not equipped with equipment that plaintiff claimed to be required.
                                                       8   In that regard, the Court of Appeals framed the issue and its resolution as follows:
                                                       9             Bieneman's complaint suggests that damages should be awarded because
                                                                     there are too many flights per hour, or because the aircraft are older
                                                      10
                                                                     models not fitted with high-bypass turbofan engines, or because the
                                                      11             planes do not climb at a sufficiently steep rate after takeoff. These
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                                                                     subjects are governed by federal law, and a state may not use common
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                                                                     law procedures to question federal decisions or extract money from
                                                      13             those who abide by them.
                                                      14   864 F.2d at 473 (emphasis added).
                                                      15             Consistent with the foregoing, the court in Air Evac EMS, Inc. v. Robinson, 486
                                                      16   F. Supp. 2d 713 (M.D. Tenn. 2007) held that the State of Tennessee was also
                                                      17   preempted from regulating the type of equipment used in air ambulance helicopters.
                                                      18   The district court cited to the preemption case law noted herein, enjoined the proposed
                                                      19   regulation of the State of Tennessee and held that "only the FAA" has "responsibility
                                                      20   for matters concerning aviation safety, including the certification and operation of
                                                      21   aircraft." 486 F. Supp. 2d at 715 (emphasis added).
                                                      22             B. The FAA Has Rejected State Attempts to Regulate Aviation Safety and the
                                                      23                FAA and EASA Have Deemed Bleed Air Systems to be Safe
                                                      24             The FAA -- the Agency charged with the duty to promulgate the regulations
                                                      25   and standards governing flight operations and safety -- has also rejected State attempts
                                                      26   to require additional safety equipment on aircraft, specifically including safety
                                                      27   equipment that would purportedly provide protection from toxic fumes.                 In
                                                      28   Interpretation 1975-29, Federal Aviation Decisions, I-48, the Chief Counsel of the
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                                                       1   FAA responded to a letter inquiring whether a State had the right to promulgate a rule
                                                       2   requiring installation of an additional safety feature on aircraft using that State's
                                                       3   airspace.        See Department of Transportation (D.O.T.) Federal Aviation
                                                       4   Administration, Interpretation 1975-29, 1975 WL 342731 (May 6, 1975). The Chief
                                                       5   Counsel to the FAA unequivocally rejected this proposal with language and reasoning
                                                       6   which echoes the Supreme Court's holding in Burbank:
                                                       7             The expansive authority of the Administrator to prescribe safety
                                                                     standards applicable to civil aircraft in air commerce under Title VI of
                                                       8
                                                                     the [Federal Aviation Act of 1958] is indicative of Congress' intent to
                                                       9             preempt any state or local regulation on the same subject matter. This
                                                      10             preemptive intent is all the more forceful when the nature of air
                                                                     commerce is considered and the necessity for uniformity of regulation is
                                                      11             reflected upon.
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                                                                     Pursuant to its broad statutory mandate, the FAA has issued a detailed
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                                                                     and comprehensive scheme of rules and regulations requiring the
                                                      13             installation of safety hardware under both its certification and operating
                                                      14             rules. Your attention is particularly directed toward the certification and
                                                                     operating rules for air carriers found in Federal Aviation Regulation
                                                      15             (FAR) Part 121 of Title 14. The breadth and scope of these regulations,
                                                      16             coupled with what we consider to be Congress' desire to make Federal
                                                                     superintendency of safety in air commerce an exclusive
                                                      17             enterprise, requires a finding of Federal preemption with respect to any
                                                      18             state or local regulation requiring installation of “Smoke Hoods” as
                                                                     described in your correspondence.
                                                      19
                                                      20   Department of Transportation (D.O.T.) Federal Aviation Administration,
                                                      21   Interpretation 1975-29, 1975 WL 342731, at *1 (May 6, 1975) (emphasis added).
                                                      22             Additionally, it is worth noting that, as plaintiff alleges in her complaint, Airbus
                                                      23   is a "European multinational corporation that designs, manufactures, and sells civil
                                                      24   and military aeronautical products worldwide." First Amended Complaint [Dkt No.
                                                      25   33], ¶ 7. As such its products are subject to initial regulation by the European
                                                      26   Aviation Safety Agency (EASA). Similar to the FAA, EASA describes its mission as
                                                      27   ensuring "the highest common level of safety protection for [European Union]
                                                      28   citizens" and "the highest common level of environmental protection." It further states
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                                                       1   that one of the ways that it achieves this mission is to "certify & approve products and
                                                       2   organisations, in fields where EASA has exclusive competence (e.g. airworthiness)."1
                                                       3             In conjunction with its regulatory role, EASA has also specifically studied the
                                                       4   "bleed air" issue2 which plaintiff cites as the crux of all of her claims. In that regard,
                                                       5   EASA has made the following findings in a 2014 report. First, EASA noted that
                                                       6   "airborne contaminations [similar to those found in aircraft] are also observed in
                                                       7   typically indoor environments like offices, schools, kindergartens or dwellings."3
                                                       8   EASA also found that "[t]aking indoor air guidelines into consideration, the cabin air
                                                       9   is no object of any concerns."4 EASA then explicitly noted that:
                                                      10         [t]o state the obvious, there is no contaminant-free indoor environment.
                                                                 The aircraft cabin is no exception. However, due to the exceptional high
                                                      11
                                                                 air exchange rates in aircraft, the cabin air has been proven to be less
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                                                                 polluted compared to normal indoor environments (e.g., offices,
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                                                      13         dwellings, etc.). Volatile contaminations in the cabin are thus depleted
                                                                 quickly.5
                                                      14   In summarizing the "current data situation," EASA concluded that "[t]he still ongoing
                                                      15   discussion about the so-called 'aerotoxic syndrome' remains completely
                                                      16   incomprehensible."6
                                                      17             The foregoing statements are obviously contrary to what plaintiff alleges in her
                                                      18   complaint. This is not surprising, since plaintiff's complaint claims that the FAA has
                                                      19   been aware of allegations about "bleed air" for 25 years but has never deemed the
                                                      20   bleed air system to render an aircraft not airworthy nor required any airline to warn
                                                      21
                                                      22   1
                                                               See https://www.easa.europa.eu/the-agency/the-agency
                                                      23   2
                                                            See EASA – Final Report on Preliminary Cabin Air Quality Measurement Campaign, available at
                                                           https://www.easa.europa.eu/sites/default/files/dfu/EASA%20CAQ%20Study%20Final%20Report_2
                                                      24
                                                           1.03.2017.pdf
                                                      25   3
                                                               Id. at p.105.
                                                           4
                                                      26       Id. at p. 105-06.
                                                           5
                                                      27       Id. at p. 106.
                                                           6
                                                               Id. at p. 109.
                                                      28
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                                                                 FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1   about the bleed air system. In light of EASA's findings, the foregoing case law and
                                                       2   the specific holding by the Ninth Circuit in Montalvo that air carriers are under no
                                                       3   duty to warn about the alleged potential health risks "absent a federal mandate to do
                                                       4   so," plaintiff's claims in the case at bar against Frontier should be dismissed just as the
                                                       5   claims against the air carrier defendants were dismissed in Montalvo. 508 F.3d at 473,
                                                       6   474. Moreover, since plaintiff's false imprisonment claim is based only on conclusory
                                                       7   allegations and is patently devoid of any credibility, that claim should be dismissed as
                                                       8   well.
                                                       9                                               II
                                                      10       IN ADDITION TO THE PERVASIVE REGULATION TEST FOR
                                                            APPLYING FEDERAL STANDARDS, THE NINTH CIRCUIT HAS ALSO
                                                      11    APPLIED THE NATURE OF THE SUBJECT MATTER TEST TO HOLD
                                                            THAT FEDERAL STANDARDS EXCLUSIVELY GOVERN LIABILITY,
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                                                      12      WHILE THE AIRLINE DEREGULATION ACT OF 1978 HAS BEEN
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                                                              HELD TO PRECLUDE THE USE OF STATE LAW RELATED TO
                                                      13               AIRLINE ROUTES, SERVICES AND PRICE
                                                      14             The ultimate conclusion to be reached from reading the cases and analysis in
                                                      15   Point I is simply that the defects alleged by plaintiff are all subjects of pervasive
                                                      16   federal regulation by the FAA and therefore require a breach of federal standards in
                                                      17   order to establish liability. As explained therein, the Ninth Circuit has used this test in
                                                      18   recent aviation cases to determine whether federal regulations exclusively govern the
                                                      19   subject matter at issue. There are, however, other tests for determining whether
                                                      20   federal law preempts.
                                                      21             A. The Nature of the Subject Matter Precludes State Regulation
                                                      22             From the inception of our nation to the present day, the Supreme Court has
                                                      23   frequently found itself struggling to resolve disputes as to whether federal or state
                                                      24   laws regulate a particular issue. More than fifty years ago, it was stated that disputes
                                                      25   arising under the Supremacy Clause "start with the assumption that the historic police
                                                      26   powers of the States [are] not to be superseded by ... Federal Act unless that [is] the
                                                      27   clear and manifest purpose of Congress." Rice v. Santa Fe Elevator Corp., 331 U.S.
                                                      28   218, 230 (1947). In conjunction with the foregoing, the Supreme Court has also stated
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                                                       1   that "[t]he purpose of Congress is the ultimate touchstone" of preemption analysis.
                                                       2   Malone v. White Motor Corp., 435 U.S. 497, 504, 98 S. Ct. 1185, 1189, 55 L.Ed.2d
                                                       3   443 (1978) (quoting Retail Clerks v. Schermerhorn, 375 U.S. 96, 103, 84 S. Ct. 219,
                                                       4   222, 11 L.Ed.2d 179 (1963)).
                                                       5             There is, however, even earlier Supreme Court case law which recognizes that
                                                       6   some subjects are so inherently federalized that their very "nature" require exclusively
                                                       7   federal regulation. Gibbons v. Ogden, 22 U.S. 1 (1824), addressed a dispute as to
                                                       8   whether New York had the power to exclusively license steamboat operators using the
                                                       9   Hudson River. The Supreme Court invalidated New York's authority to do so based
                                                      10   on its holding that the "power of regulating commerce extends to the regulation of
                                                      11   navigation." 22 U.S. at 3 (emphasis added). A few decades later, the Supreme Court
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                                                           similarly decided a dispute regarding whether federal or State law regulated the
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                                                      13   piloting of vessels in the Philadelphia harbor. Cooley v. Board of Wardens, 53 U.S.
                                                      14   299 (1851) echoed the holding of Gibbons and specifically held that federal power
                                                      15   must extend to matters that "are in their nature national, or admit only of one
                                                      16   uniform system or plan of regulation." 53 U.S. at 319 (emphasis added).
                                                      17             Since that time, the Supreme Court has repeatedly held that the "nature" of
                                                      18   aviation requires uniform federal control and exclusive regulation. In that regard, the
                                                      19   Supreme Court cited to Gibbons in 1944 to hold,
                                                      20        Air as an element in which to navigate is even more inevitably
                                                                federalized by the commerce clause than is navigable water. Local
                                                      21
                                                                exactions and barriers to free transit in the air would neutralize its
                                                      22        indifference to space and its conquest of time. . . Congress has
                                                      23        recognized the national responsibility for regulating air commerce.
                                                                Federal control is intensive and exclusive.
                                                      24   Nw. Airlines, Inc. v. Minnesota, 322 U.S. 292, 302, 303 (1944) (Jackson, J.,
                                                      25   concurring) (emphasis added).
                                                      26             In 1948, the Supreme Court again noted both the unique nature of aviation
                                                      27   commerce and the comprehensive regulatory scheme established by Congress to
                                                      28   explain federal control over aviation:
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                                                               FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       1        Congress has set up a comprehensive scheme for regulation of common
                                                                carriers by air. . . . We find no indication that the Congress either
                                                       2
                                                                entertained or fostered the narrow concept that air-borne commerce is a
                                                       3        mere outgrowth or overgrowth of surface-bound transport. . . . [A]ir
                                                       4        commerce, whether at home or abroad, soared into a different realm
                                                                than any that had gone before. Ancient doctrines of private ownership
                                                       5        of the air as appurtenant to land titles had to be revised to make aviation
                                                       6        practically serviceable to our society. A way of travel which quickly
                                                                escapes the bounds of local regulative competence called for a more
                                                       7        penetrating, uniform and exclusive regulation by the nation than had
                                                       8        been thought appropriate for the more easily controlled commerce
                                                                of the past.
                                                       9   Chicago & S. Air Lines v. Waterman S. S. Corp., 333 U.S. 103, 105 (1948)
                                                      10   (emphasis added).
                                                      11             Twenty five years later, the Supreme Court cited to its prior holdings in
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                                                           Northwest and Cooley to hold that the "nature" of aviation requires exclusive federal
                                                      13   regulation. City of Burbank, 411 U.S. 624, 625 and 633 (1973). Indeed, Justice
                                                      14   Rehnquist, who wrote a minority opinion on different grounds, agreed with the
                                                      15   majority to state that implied preemption of state law extended to "all aspects of air
                                                      16   safety." 411 U.S. at 644 (emphasis added). That holding was then echoed by the
                                                      17   Ninth Circuit eight years later when it specifically noted that Burbank's holding "did
                                                      18   not rest solely on pervasive regulation . . . the national character of the subject
                                                      19   matter was said to be “the critical issue.” San Diego Unified Port Dist. v.
                                                      20   Gianturco, 651 F.2d 1306, 1312, fn. 11 (9th Cir. 1981) (emphasis added).
                                                      21             The foregoing holdings clearly demonstrate that even if the matters that form
                                                      22   the core of Plaintiff's complaint were not the subject of pervasive regulation, the
                                                      23   nature of aviation, and aviation safety in particular, clearly require that federal
                                                      24   standards exclusively govern. As has already been demonstrated, Plaintiff has not and
                                                      25   cannot demonstrate any breach of these standards by Frontier. Thus, irrespective of
                                                      26   whether pervasive regulation or the nature of the subject matter is used to determine
                                                      27   the standards that govern the claims asserted against Frontier, the result would be the
                                                      28   same, i.e. those claims must be dismissed as a matter of law.
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                                                       1             B. The Airline Deregulation Act Precludes State Regulation
                                                       2             Additionally, it is relevant to also note that insofar as Plaintiff's claim that
                                                       3   Frontier should either dispose of all their Airbus and non-787 aircraft and/or retrofit
                                                       4   their existing fleet with some entirely new ventilation system (that would certainly
                                                       5   have to approved and certified by the FAA), that claim would also be preempted by
                                                       6   the terms of the Airline Deregulation Act of 1978.
                                                       7             As the Fifth Circuit explained in Witty v. Delta Air Lines, Inc., 366 F.3d 380,
                                                       8   383 (5th Cir. 2004), when rejecting a far, far more modest claim that air carriers
                                                       9   should be required to modify seat configurations, such a claim clearly "relates to
                                                      10   prices charged by airlines" and is therefore preempted by the express preemption
                                                      11   provision of the 1978 ADA. 366 F.3d at 383. In so holding, the Fifth Circuit cited to
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                                                           the Supreme Court's holding in Morales v. Trans World Airlines, Inc., 504 U.S. 374,
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                                                      13   385, 388 (1992) to explain that "such a requirement would impose a standard 'relating
                                                      14   to a price' under § 41713(b)(1), and is accordingly preempted by the ADA." Id. It
                                                      15   then went on to state that "Section 41713(b)(1) not only preempts the direct regulation
                                                      16   of prices by states, but also preempts indirect regulation 'relating to' prices that have
                                                      17   'the forbidden significant effect' on such prices." Id.
                                                      18             Given the overwhelming weight of the multiple authorities cited in Points I and
                                                      19   II, it is clear that federal law governs the crux of plaintiff's claims against Frontier. It
                                                      20   is equally clear that Plaintiff has not and cannot present any legal, factual or expert
                                                      21   proof to establish any breach by Frontier and therefore, Frontier is entitled to
                                                      22   judgment as a matter of law. Moreover, as the following Point demonstrates,
                                                      23   Plaintiff's claims are also subject to dismissal under State law.
                                                      24   //
                                                      25   //
                                                      26   //
                                                      27   //
                                                      28   //
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                                                       1                                               III
                                                       2
                                                                EVEN IF PLAINTIFF'S CLAIMS WERE NOT EXCLUSIVELY
                                                       3    GOVERNED BY FEDERAL LAW, PLAINTIFF'S COMPLAINT SHOULD
                                                             BE DISMISSED WITH PREJUDICE BECAUSE PLAINTIFF CANNOT
                                                       4    ESTABLISH ANY OF HER CAUSES OF ACTION AGAINST FRONTIER
                                                                               AS A MATTER OF LAW
                                                       5
                                                       6             Plaintiff alleges causes of action for strict liability, breach of warranties,
                                                       7   negligence, negligent infliction of emotional distress and false imprisonment.
                                                       8   However, plaintiff’s claims are replete with conclusory and unsupported allegations
                                                       9   and, as demonstrated further below, plaintiff cannot establish any of her causes of
                                                      10   action against Frontier as a matter of law.
                                                      11             A. Plaintiff Cannot Establish a Strict Products Liability Cause of Action
                                                                        Against Frontier Because Frontier Does Not Manufacture, Distribute or
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                                                                        Sell Aircraft
                                                      13             In order to prove her cause of action for "strict products liability – design
                                                      14   defect" against Frontier, plaintiff must prove that Frontier manufactured, distributed,
                                                      15   or sold a product with a defect in its manufacture or design. See Soule v. GM Corp., 8
                                                      16   Cal.4th 548, 560, 34 Cal.Rptr.2d 607, 882 P.2d 298 (1994). Not only does Plaintiff not
                                                      17   allege Frontier to have manufactured, distributed or sold the Airbus aircraft in
                                                      18   question, the accompanying Declaration of James Nides, specifically confirms that
                                                      19   Frontier does not manufacture, distribute or sell aircraft. UF No. 1. Thus there is no
                                                      20   basis in law or fact to hold Frontier liable for the alleged design defects of a third
                                                      21   party manufacturer whom plaintiff has inexplicably decided to belatedly dismiss from
                                                      22   this action.
                                                      23             B. Plaintiff Cannot Establish a Breach of Warranties Cause of Action
                                                                        Against Frontier Because Frontier Does Not Manufacture, Distribute or
                                                      24                Sell Aircraft
                                                      25             Because Frontier does not manufacture, distribute or sell Airbus aircraft, it
                                                      26   cannot be found liable under theories of liability alleging either express or implied
                                                      27   warranty. See Fogo v. Cutter Laboratories, Inc., 68 Cal.App.3d 744, 759, 137
                                                      28   Cal.Rptr. 417 (1977) (“[A] sale is ordinarily an essential element of any warranty,
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                                                       1   express or implied. . . .”); see also, UF No. 1.
                                                       2             C. Plaintiff Cannot Establish a Negligence Cause of Action Against Frontier
                                                       3                Because Frontier Maintains and Inspects its Aircraft in Accordance with
                                                                        FAA Regulations
                                                       4             The elements of a cause of action for negligence are well established and
                                                       5   include: (a) a legal duty to use due care; (b) a breach of the legal duty; and (c)
                                                       6   the breach proximately causing the resulting injury.” Ladd v. County of San Mateo,
                                                       7   12 Cal.4th 913, 917, 50 Cal.Rptr.2d 309, 911 P.2d 496 (1996).
                                                       8             Plaintiff's cause of action for negligence devotes a substantial amount of space
                                                       9   to reciting allegations against the manufacturer of the aircraft, Airbus, a defendant that
                                                      10   plaintiff recently dismissed after being granted the opportunity to serve Airbus via
                                                      11   certified mail. First Amended Complaint [Dkt 33], p. 22, l. 98 – p. 23, l. 104.
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                                                           Plaintiff does not allege, and cannot reasonably dispute, that Frontier did not design,
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                                                      13   manufacture, assemble, sell, or distribute the aircraft. UF Nos. 1 and 2. Neither can
                                                      14   plaintiff dispute that Frontier did not represent, promote, or market the aircraft. UF
                                                      15   No. 3.
                                                      16             With respect to the only allegation that could conceivably apply to Frontier,
                                                      17   plaintiff alleges that defendants "failed to adequately maintain, service, retrofit and/or
                                                      18   inspect the subject aircraft." First Amended Complaint [Dkt 33], p. 23, ll. 22-23.
                                                      19   However, plaintiff will be unable to prove a negligence cause of action because
                                                      20   Frontier did not breach any duty to plaintiff and plaintiff did not sustain injury.
                                                      21   Frontier undertook to transport plaintiff from Los Angeles to Orlando. When an odor
                                                      22   was detected in the aircraft during flight, the pilots diverted the aircraft to Phoenix,
                                                      23   where it was inspected by an FAA-certified technician in accordance with an FAA-
                                                      24   certified maintenance program. UF Nos. 7 and 8. Plaintiff was provided with hotel
                                                      25   accommodations and transportation to Orlando on an alternate aircraft, in addition to a
                                                      26   US$200 voucher (an amount in excess of the cost of plaintiff's one-way ticket). UF
                                                      27   No. 18; Nides Decl. ¶ 16; Exhibit B to Nides Decl.
                                                      28             Plaintiff cannot dispute that Frontier maintains all of its aircraft in accordance
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                                                       1   with FAA regulations or that the subject aircraft was inspected immediately following
                                                       2   the incident and no defects were found. UF Nos. 7 and 8. Further, the subject aircraft
                                                       3   was subsequently tracked for one month following the incident, and still no defects
                                                       4   were found. UF No. 9. Perhaps most fatal to this cause of action, Plaintiff has not
                                                       5   served any expert report to allege or establish that any different standards should
                                                       6   apply, that Frontier breached such standards, and/or that the incident caused her any
                                                       7   harm or injury.
                                                       8             D. Plaintiff Cannot Establish a Negligent Infliction of Emotional Distress
                                                       9                Cause of Action Against Frontier Because Frontier Was Not Negligent
                                                                        and Did Not Engage in Intentional or Reckless Conduct
                                                      10             Plaintiff alleges a cause of action for negligent infliction of emotional distress
                                                      11   but makes allegations concerning "intentional and/or reckless" conduct in addition to
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                                                           negligence. The doctrine of “negligent infliction of emotional distress” is not a
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                                                      13   separate tort or cause of action but, rather, allows certain persons to recover damages
                                                      14   for emotional distress on a negligence cause of action, even though they were not
                                                      15   otherwise injured or harmed. See Molien v. Kaiser Foundation Hospitals, 27 Cal.3d
                                                      16   916, 928, 167 Cal.Rptr. 831, 616 P.2d 813 (1980). By contrast, a cause of action for
                                                      17   intentional infliction of emotional distress requires a showing that the defendant
                                                      18   engaged in "extreme and outrageous conduct" with the intent to cause emotional
                                                      19   distress. Hughes v. Pair, 46 Cal.4th 1035, 1050–1051, 95 Cal.Rptr.3d 636, 209 P.3d
                                                      20   963 (2009).
                                                      21             Whether plaintiff intended to assert a cause of action for negligent infliction of
                                                      22   emotional distress or intentional infliction of emotional distress, plaintiff cannot
                                                      23   establish her cause of action as a matter of law. As provided above, Frontier operates
                                                      24   and maintains its aircraft in accordance with federal regulations. UF Nos. 4-7.
                                                      25   Further, Frontier inspected the aircraft after the incident and monitored the aircraft for
                                                      26   four weeks following the incident and found nothing wrong. UF Nos. 8 and 9. Given
                                                      27   that Plaintiff has not provided an expert report indicating the foregoing standards do
                                                      28   not apply and/or that Frontier breached applicable standards, there is no legal or
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                                                       1   evidentiary basis for an assertion that Frontier engaged in "extreme or outrageous"
                                                       2   conduct or was negligent with respect to its operation of the subject aircraft.
                                                       3             E. Plaintiff Cannot Establish a False Imprisonment Cause of Action Against
                                                       4                Frontier Because Plaintiff Was Not Restricted in Her Freedom of
                                                                        Movement and/or Plaintiff Consented to Remain in the Gate Area
                                                       5             The tort of false imprisonment consists of the "nonconsensual, intentional
                                                       6   confinement of a person, without lawful privilege, for an appreciable length of time,
                                                       7   however short." Fermino v. Fedco, Inc., 7 Cal.4th 701, 716, 30 Cal.Rptr.2d 18, 872
                                                       8   P.2d 559 (1994). Restraint of the plaintiff "may be effectuated by means of physical
                                                       9   force, threat of force or of arrest, confinement by physical barriers, or by means of any
                                                      10   other form of unreasonable duress." Fermino, 7 Cal.4th at 716.
                                                      11             The accompanying declaration of Brittany Shamburger establishes that in June,
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                                                           2017, Menzies provided gate agents for Frontier at Phoenix Sky Harbor International
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                                                      13   Airport. UF No. 11. That declaration further states that agents advised passengers to
                                                      14   remain near the gate area so that they could hear announcements relating to the status
                                                      15   of their flight. UF Nos. 12 and 13; Declaration of Brittany Shamburger, ¶¶ 4-9.
                                                      16   Moreover, and as anyone who has ever disembarked or embarked from a gate at any
                                                      17   large (or small) US airport knows, Menzies agents (and all gate agents generally) do
                                                      18   not attempt or intend to confine passengers waiting to board another flight. UF Nos.
                                                      19   14 and 15; Shamburger Decl., ¶¶ 4-9.
                                                      20             Insofar as this particular flight is concerned, (and all other flights), Menzies did
                                                      21   not and would not use physical barriers, force, threats of force, menace, fraud, deceit
                                                      22   or unreasonable duress in dealing with passengers. UF No. 16; Shamburger Decl., ¶¶
                                                      23   4-9. Passengers are always free to leave the gate area but they are advised that, if they
                                                      24   do so, they may miss an important announcement regarding the flight. UF Nos. 12-
                                                      25   17; Shamburger Decl., ¶¶ 4-9. Plaintiff's vague and non-specific claim that she was
                                                      26   falsely imprisoned is contrary to the specific evidence accompanying this motion,
                                                      27   simple common sense, and the everyday experience of anyone who has travelled on a
                                                      28   passenger aircraft in the United States. See Ashcroft v. Iqbal, 556 U.S. 662, 678-79
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                                                       1   (2009) (holding that the federal pleading standard does not require that conclusory and
                                                       2   unsupported allegations be assumed to be true).
                                                       3                                         CONCLUSION
                                                       4             In light of the foregoing, Frontier Airlines, Inc. respectfully requests that the
                                                       5   Court dismiss plaintiff's complaint in its entirety, with prejudice, and enter judgment
                                                       6   in favor of Frontier Airlines, Inc.
                                                       7
                                                       8   Dated: May 20, 2019                               CLYDE & CO US LLP
                                                       9
                                                      10                                              By: _____________________________
                                                                                                            KEVIN R. SUTHERLAND
                                                      11
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                                                      13                                                    FRONTIER AIRLINES, INC.

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                                                       1
                                                                                             PROOF OF SERVICE
                                                       2
                                                                                           STATE OF CALIFORNIA
                                                       3                                  COUNTY OF LOS ANGELES
                                                       4        I am employed in the County of Los Angeles, State of California, I am over the
                                                         age of eighteen years, and not a party to the within action. My business address is 633
                                                       5 West 5th Street, 26th Floor, Los Angeles, California 90071.

                                                       6             On May 20, 2019, I served the document(s) described as:
                                                       7
                                                                 FRONTIER AIRLINES INC.'S MEMORANDUM OF POINTS AND
                                                       8       AUTHORITIES IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
                                                       9             on the parties in this action addressed as follows:
                                                      10                                SEE ATTACHED SERVICE LIST
                                                      11   in the following manner:
                                                      12            (BY FAX): by transmitting via facsimile the document(s) listed above to the
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                     Los Angeles, California 90071




                                                                     fax number(s) set forth below, or as stated on the attached service list, on this
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                                                      13             date before 5:00 p.m.
                                                           
                                                      14             (BY MAIL): as follows: I am “readily familiar” with the firm’s practice of
                                                                     collection and processing correspondence for mailing. Under that practice it
                                                      15             would be deposited with the U.S. Postal Service on that same day with postage
                                                                     thereon fully prepaid at Los Angeles, California in the ordinary course of
                                                      16             business. I am aware that on motion of the party served, service is presumed
                                                                     invalid if postal cancellation date or postage meter date is more than one day
                                                      17             after the date of deposit for mailing in affidavit.
                                                                    (BY OVERNIGHT DELIVERY): I caused such envelope(s) to be delivered
                                                      18             to an overnight delivery carrier with delivery fees provided for, addressed to
                                                                     the person(s) on whom it is to be served.
                                                      19            (BY PERSONAL SERVICE): I caused such envelope(s) to be delivered by
                                                                     hand this date to the offices of the addressee(s).
                                                      20            (BY CM/ECF): by electronic filing system with the clerk of the Court which
                                                                     will send a Notice of Electronic Filing to all parties with an e-mail address of
                                                      21             record, who have filed a Notice of Consent to Electronic Service in this action:
                                                      22        I declare I am employed in the office of a member of the bar of this court at
                                                           whose direction the service was made.
                                                      23
                                                                     Executed on May 20, 2019, at Los Angeles, California.
                                                      24

                                                      25                                                     _______________________________
                                                                                                             Sonja L. Gray
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